            Case 18-03052 Document 115 Filed in TXSB on 05/14/18 Page 1 of 13



                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                                 :
    In re                                                        : Chapter 11
                                                                 :
    iHEARTMEDIA, INC., et al.,1                                  : Case No. 18-31274 (MI)
                                                                 :
                     Debtors.                                    : (Jointly Administered)
                                                                 :
                                                                 :
    WILMINGTON SAVINGS FUND SOCIETY,                             :
    FSB, solely in its capacity as successor                     :
    indenture trustee to the 6.875% Senior Notes                 :
    due 2018 and 7.25% Senior Notes due 2027,                    :
    and not in its individual capacity,                          :
                                                                 :
                     Plaintiff,                                  :
    and                                                          :
                                                                 : Adversary Proceeding No. 18-03052 (MI)
    DELAWARE TRUST COMPANY,                                      :
                                                                 :
                     Intervenor Plaintiff,
                                                                 :
                      vs.                                        :
                                                                 :
    iHEARTCOMMUNICATIONS, INC. f/k/a                             :
    Clear Channel Communications, Inc., AMFM                     :
    Broadcasting Licenses, LLC, AMFM                             :
    Broadcasting, Inc., AMFM Operating, Inc.,                    :
    AMFM Radio Licenses, LLC, AMFM Texas                         :
    Broadcasting, LP, AMFM Texas Licenses,                       :
    LLC, AMFM Texas, LLC, Capstar Radio                          :
    Operating Company, and Capstar TX, LLC,                      :
                                                                 :
                     Defendants,                                 :
                                                                 :
                                                                 :
    and                                                          :
                                                                 :


1
      Because of the large number of Debtors in these jointly administered Chapter 11 Cases, a complete list of the
      Debtors and the last four digits of their tax identification, registration, or like numbers is not provided herein. A
      complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
      http://cases.primeclerk.com/iheartmedia. The location of Debtor iHeartMedia, Inc.’s principal place of business
      and the Debtors’ service address is: 20880 Stone Oak Parkway, San Antonio, Texas 78258.
           Case 18-03052 Document 115 Filed in TXSB on 05/14/18 Page 2 of 13



                                                                :
    Davidson Kempner Distressed Opportunities                   :
    Fund LP, Davidson Kempner Distressed                        :
    Opportunities International Ltd., Davidson                  :
    Kempner Institutional Partners, L.P., Davidson              :
    Kempner International, Ltd., Davidson                       :
    Kempner Partners, Franklin Custodian Funds -                :
    Franklin Income Fund, Franklin Mutual Series                :
    Funds – Franklin Mutual Beacon Fund,                        :
    Franklin Mutual Series Funds – Franklin                     :
    Mutual Global Discovery Fund, Franklin                      :
    Mutual Series Funds – Franklin Mutual Shares                :
    Fund, Franklin Mutual Series Funds – Franklin               :
    Mutual Quest Fund, Franklin Templeton                       :
    Variable Insurance Products Trust - Franklin                :
    Income VIP Fund, Gordel Capital Limited,                    :
    Midtown Acquisitions L.P., M.H. Davidson &                  :
    Co., OZ Credit Opportunities Master Fund,                   :
    Ltd., OZ Enhanced Master Fund, Ltd., OZ GC                  :
    Opportunities Master Fund, Ltd., OZ Master                  :
    Fund, Ltd., OZSC II, L.P., PIMCO Balanced                   :
    Income Fund (Canada), PIMCO Bermuda                         :
    Trust II: PIMCO Bermuda Income Fund (M),                    :
    PIMCO Bermuda Trust IV: PIMCO Global                        :
    High Yield Strategy Fund, PIMCO Global                      :
    Income Opportunities Fund, PIMCO                            :
    Horseshoe Fund, LP, PIMCO Monthly Income                    :
    Fund (Canada),

                      Intervenor Defendants2.

       SENIOR CREDITORS’ EMERGENCY MOTION FOR A PROTECTIVE ORDER




2
    The Intervenor Defendants are collectively referred to as the “Senior Creditors.”
       Case 18-03052 Document 115 Filed in TXSB on 05/14/18 Page 3 of 13




THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT
AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING
PARTY. UNLESS THE COURT CONSIDERS THE MOTION ON AN EMERGENCY
BASIS (SEE BELOW), YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21
DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST
STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER
NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN
AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES
AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT CONSIDERS THE
MOTION ON AN EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN 21
DAYS TO ANSWER. IF YOU OBJECT TO THE REQUESTED RELIEF OR IF YOU
BELIEVE THAT THE EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU
SHOULD FILE AN IMMEDIATE RESPONSE.

A HEARING WILL BE HELD ON THIS MATTER FOR MAY 30, 2018 at 10:30 AM
(CT) BEFORE THE HONORABLE MARVIN ISGUR, 515 RUSK AVENUE,
COURTROOM 404, HOUSTON, TEXAS 77002. REPRESENTED PARTIES SHOULD
ACT THROUGH THEIR ATTORNEY.

       The Senior Creditors respectfully move this Court for entry of a protective order, on an

emergency basis pursuant to Local Bankruptcy Rule 9013-1(i), quashing the Notice of

Deposition sent by Plaintiff Wilmington Savings Fund Society, FSB’s (“WSFS”) to the

Intervening Senior Creditors (the “Deposition Notice” attached hereto as Exhibit 1) and

preventing the depositions sought by that Deposition Notice from going forward.

       As articulated in more detail below, the Deposition Notice seeks to take depositions,

pursuant to Rule 30(b)(6), of each of the twenty-five Senior Creditors on a variety of topics

relating to the various indentures and loan agreements at issue in this case. The Senior Creditors,

however, are merely investors who were not involved in their drafting or negotiation.

Recognizing that fact, WSFS did not name the Senior Creditors as defendants, and the Senior

Creditors intervened solely to protect their interests in and claims against the Debtor-Defendants.


                                           -2-
       Case 18-03052 Document 115 Filed in TXSB on 05/14/18 Page 4 of 13



       The Senior Creditors have no relevant information to provide on any of the topics listed

in the Deposition Notice, rendering the Deposition Notice burdensome and harassing. The

Senior Creditors therefore request, on an emergency basis, that the Court enter a protective order

under Rule 26(c)(1) of the Federal Rules of Civil Procedure, as incorporated by Rule 7026 of the

Federal Rules of Bankruptcy Procedure, preventing the depositions from going forward.

                                          BACKGROUND

       1.        This adversary proceeding is predicated on the rights and obligations created

under a series of contracts. The Senior Creditors were not involved in the formation of any of

the contracts.

       2.        One of these contracts is an indenture dated October 1, 1997 (the “Legacy

Indenture”), between the predecessor to Defendant iHeart Communications, Inc. (“iHeart”) and

the-then trustee to the so-called “Legacy Notes,” of which WSFS is the successor indenture

trustee. Section 1006 of the Legacy Indenture contains a negative covenant (the “Negative

Covenant”) by which iHeart promised that it “will not, nor will it permit any Restricted

Subsidiary to, create, assume, incur or suffer to exist . . . any Mortgage upon any Principal

Property, whether owned or leased on the date of this Indenture, or thereafter acquired, to secure

any Debt of the Company or any other person (other than the Securities) without in any such

case making effective provision whereby all of the Securities Outstanding [the Legacy Notes]

shall be directly secured equally and ratably with such Debt.” Legacy Indenture § 1006. The

Legacy Indenture is governed by New York law.

       3.        A second set of relevant contracts are five Priority Guarantee Notes Indentures

(the “PGN Indentures”), between iHeart, iHeart subsidiaries, various indenture trustees, and

Deutsche Bank Trust Company Americas (“Deutsche Bank”) as Collateral Agent, pursuant to

which iHeart issued five series of Priority Guarantee Notes (“PGNs”) annually between 2011


                                             -3-
       Case 18-03052 Document 115 Filed in TXSB on 05/14/18 Page 5 of 13



and 2015. Unlike the Legacy Notes, which are obligations only of iHeart, the PGNs were

guaranteed by many of iHeart’s subsidiaries, including all of the other Defendants in this case

(the “Subsidiary Defendants”)3 The Senior Creditors are holders of the PGNs.

       4.      Unlike the Legacy Notes, which are unsecured, the obligations of iHeart and the

Subsidiary Defendants in respect of the PGN Indentures were secured pursuant to a series of

securities and pledge agreements, including certain Principal Property Security Agreements

(“PPSAs”) between the Subsidiary Defendants and Deutsche Bank. Both the PGN Indentures

and the PPSAs are governed by New York law.

       5.      After the Debtors filed their chapter 11 bankruptcy petitions, WSFS filed this

adversary proceeding against iHeart and the Subsidiary Defendants, alleging that the PPSAs and

the security interests granted under the PPSAs violated the Legacy Indenture’s Negative

Covenant. (Complaint, Adv. D.I. 1.) WSFS further claimed that the Defendants concealed the

PPSAs and the security interests granted thereunder. WSFS asserts that, as a result, it is entitled

to liens and claims not only against iHeart – the obligor and contract-counterparty in respect of

the Legacy Notes – but also against the Subsidiary Defendants – who have no obligations to

WSFS or holders of the Legacy Notes.

       6.      Notably, WSFS did not name the Senior Creditors as defendants. This is

unsurprising: the Senior Creditors were not involved in the negotiation or drafting of any of the

aforementioned agreements. Indeed, the Senior Creditors have no connection to the facts

underlying this dispute other than that they own the PGNs that WSFS argues were issued in

violation of the Negative Covenant. Nonetheless, because the relief requested by WSFS



3
    The Subsidiary Defendants are: AMFM Broadcasting Licenses, LLC, AMFM Broadcasting, Inc., AMFM
    Operating, Inc., AMFM Radio Licenses, LLC, AMFM Texas Broadcasting, LP, AMFM Texas Licenses, LLC,
    AMFM Texas, LLC, Capstar Radio Operating Company, and Capstar TX, LLC.



                                             -4-
       Case 18-03052 Document 115 Filed in TXSB on 05/14/18 Page 6 of 13



threatens to impair and dilute the Senior Creditors’ claims and security interests against the

Defendants, the Senior Creditors moved to intervene as additional defendants. (Senior Creditors’

Motion to Intervene, Adv. D.I. 44.) The Court authorized intervention on April 12, 2018. (Adv.

D.I. 65.)

       7.      On May 1, 2018, WSFS served the Deposition Notice, by which it seeks to

depose a corporate representative of each of the twenty-five Senior Creditors pursuant to

Rule 30(b)(6) of the Federal Rules of Civil Procedure. The Deposition Notice seeks testimony of

the Senior Creditors’ knowledge and understanding of nine topics, which can be grouped into

three categories: (1) the operation and interpretation of the PPSAs, the Legacy Indenture, the

PGN Indentures, and the Term Loan Credit Agreement (Topics 1-5, 8); (2) public filings made

by other parties – specifically, UCC-1 filings by Deutsche Bank to perfect security interests

granted under the PPSAs and SEC filings made by the Defendants (Topics 6-7); and

(3) communications between the Senior Creditors and the Debtors regarding various provisions

of the PPSAs and Legacy Indenture (Topic 9). (See Ex. 1.)

       8.      On May 10 and 14 2018, counsel for the Senior Creditors spoke with counsel for

WSFS and discussed whether agreement could be reached whereby WSFS would agree to

withdraw the Deposition Notice. No such agreement has been reached.

                                           ARGUMENT

       9.      Rule 26(c)(1) of the Federal Rules of Civil Procedure, as made applicable here by

Rule 7026 of the Federal Rules of Bankruptcy, provides, in relevant part that “[a] party or any

person from whom discovery is sought may move for a protective order [and] the court may, for

good cause, issue an order to protect a party or person from annoyance, embarrassment,

oppression, or undue burden or expense, including one or more of the following: . . . forbidding

the disclosure or discovery.” Fed. R. Civ. P. 26(c)(1).


                                            -5-
       Case 18-03052 Document 115 Filed in TXSB on 05/14/18 Page 7 of 13



       10.     Here, the Senior Creditors seek a protective order quashing the Deposition Notice

and prohibiting the depositions sought by WSFS. The Senior Creditors were not involved in the

drafting or negotiation of the contracts that are the subject of the Deposition Notice. The

personal knowledge of the Senior Creditors regarding contracts they were not involved in

forming is irrelevant to the Court’s interpretation of those contracts and resolution of this case.

Further, the Senior Creditors do not intend to testify at trial or offer expert evidence with respect

to the interpretation of the relevant agreements. The Senior Creditors therefore should not be

burdened in appearing and preparing for the depositions sought by WSFS.

       11.     Parties are permitted “to obtain discovery regarding any nonprivileged matter that

is relevant to any party’s claim or defense and proportional to the needs of the case, considering

the importance of the issues at stake in the action, the amount in controversy, the parties’ relative

access to relevant information, the parties’ resources, the importance of the discovery in

resolving the issues, and whether the burden or expense of the proposed discovery outweighs its

likely benefit.” Fed. R. Civ. P. 26(b)(1). Although “relevance” is construed broadly at the

discovery stage, “Rule 26(b) has never been a license to engage in an unwieldy, burdensome, and

speculative fishing expedition.” Crosby v. Louisiana Health Serv. & Indem. Co., 647 F.3d 258,

264 (5th Cir. 2011). Where, as here, a plaintiff fails to establish the necessity for and relevance

of a discovery request, courts protect defendants from having to comply with requests for

unnecessary and irrelevant information and testimony. See, e.g., Ramos v. Capitan Corp.,

No. MO:16-CV-00075-RAJ-DC, 2017 WL 1278737, at *4 (W.D. Tex. Feb. 2, 2017) (denying, in

part, defendants’ motion to compel interrogatory responses).

       12.     Consistent with this standard, courts prohibit plaintiffs from seeking discovery of

creditors’ or other third parties’ interpretation and understanding of factual issues in a lawsuit




                                            -6-
       Case 18-03052 Document 115 Filed in TXSB on 05/14/18 Page 8 of 13



when that information has no bearing on either party’s claims or defenses. See, e.g., In re

Energy Future Holdings Corp., 513 B.R. 651, 664-65 (Bankr. D. Del. 2014) (denying as

irrelevant indenture trustee’s discovery requests to members of ad hoc noteholder committee

regarding debtors’ reasons for filing bankruptcy, refinancing notes, or the consideration

noteholders expected to receive under a restructuring agreement).

        13.     This is particularly true in actions predicated upon the interpretation of a contract

governed by New York law (like the contracts in question here), as an entity that is not party to

the formation of the contract’s “own personal understanding is not relevant to the contract

interpretation analysis; rather, what matters is the intent of . . . the corporate entity that was a

party to the . . . Indenture.” E.g., MBIA Ins. Corp. v. Patriarch Partners VIII, LLC, 950 F. Supp.

2d 568, 616 (S.D.N.Y. 2013).

        14.     The court’s decision in Home Equity Mortgage Trust Series 2006-5 v. DLJ

Mortgage Capital, Inc. is instructive of this principle. No. 653787/2012, 2014 WL 3853657

(N.Y. Sup. Ct. July 28, 2014). There, a trustee brought suit against various loan serving

defendants, alleging that those entities breached various representations and warranties contained

in a Pooling and Servicing Agreement underlying various trusts. When the defendants sought

discovery of the certificate holders who directed the trustee to bring the suit regarding, among

other things, their investments in the certificates as well as documents and communications

pertaining to the allegations of the complaint, the Court agreed that such materials were “not

relevant to the breach of contract issues central to this action” and therefore were not appropriate

targets of discovery. Id. at *2

        15.     So too here. As the Deposition Notice reflects, the vast majority of the topics

about which WSFS seeks to depose the Senior Creditors relate to the Senior Creditors’




                                             -7-
        Case 18-03052 Document 115 Filed in TXSB on 05/14/18 Page 9 of 13



knowledge and understanding of: (1) the various provisions of contracts to which they were not

involved in forming; or (2) public filings made by others (UCC-1 filings by Deutsche Bank and

SEC filings by iHeart) concerning those same contracts. (See Ex. A to Ex. 1 at Topics 1-8). As

in Home Equity Mortgage, the Senior Creditors’ understanding of those contracts and actions by

other parties simply have no bearing on the issues in dispute. See Home Equity Mortgage Trust,

2014 WL 3853657 at *2.

        16.       Finally, WSFS’s attempt to depose the Senior Creditors on their communications

with the Debtors about various provisions of the same contracts (Topic 9) fares no better. First,

this topic suffers from the same deficiencies as the other topics, in that it seeks the Senior

Creditors’ communications about evaluations and understandings of contracts and contract

provisions about which they did not negotiate or draft. Second, to the extent WSFS suggests (as

it has in the past) that discovery into this topic is aimed at determining whether there was some

sort of conspiracy or agreement between the Debtors and Senior Creditors to conceal the PPSAs

or breach the Negative Covenant, there is absolutely no claim or allegation against the Senior

Creditors in the Complaint to that effect. See e.g. In re Trevino, 564 B.R. 890, 919 (Bankr. S.D.

Tex. 2017) (plaintiffs’ “barebones statement” that information sought in discovery was “highly

relevant….does not meet the burden of demonstrating why such an expensive request falls within

the scope of discovery”). And with good reason. There is no evidence, or even a colorable

explanation, as to why the Senior Creditors would be involved in concealing agreements they

were not involved in the creation of.4 See Energy Futures, 513 B.R. at 664 (denying as

irrelevant document requests and depositions of individual creditors concerning alleged efforts


4
    In response to WSFS’s requests for production of documents, the Senior Creditors have agreed to produce any
    communications with the Debtors prior to the signing of the Restructuring Support Agreement on March 16,
    2018 concerning these topics. At the very least, no deposition should take place on this topic unless and until
    the Senior Creditors produce documents evidencing an alleged conspiracy or understanding.



                                                   -8-
      Case 18-03052 Document 115 Filed in TXSB on 05/14/18 Page 10 of 13



by debtors avoid a redemption premium where, “apart from conclusory allegations that ‘[the

debtor and creditors] had substantial discussions prepetition regarding a plan to use chapter 11 to

deny the redemption premium . . . ,’ the Complaint does not contain any factual allegations

regarding the intentions and actions of the [creditors]”); see also Home Equity Mortgage Trust

Series 2006-5, 2014 WL 38353657 at *2 (“The documents and communications from the

Directing Certificateholders, will not proffer evidence relevant for plaintiff’s claims. The case

rests on whether the loans that DLJ sold to the RMBS Trusts were of the quality that DLJ

represented they were, namely a breach of contract issue. The Directing Certificateholders’

actions or internal thoughts are divorced from this lawsuit.”)

       17.     Contrasted against the lack of any relevance of the subject discovery, the

Deposition Notice imposes a significant burden on the Senior Creditors. The twenty-five

individual Senior Creditor entities fall into five corporate groups, meaning there will be the need

to be at least five depositions if WSFS is allowed to proceed. The Deposition Notice dictates

that the depositions will take place in Houston, far from the places of business of any of the

Senior Creditors.

       18.     That burden far outweighs whatever scant relevance the testimony of the Senior

Creditors may have in respect of the WSFS’s claims. Even when the party seeking discovery

establishes its relevance, a court may limit the discovery if “the burden or expense of the

proposed discovery outweighs its likely benefit,” Fed. R. Civ. P. 26(b)(2)(C)(iii), or if the

discovery sought “can be obtained from some other source that is more convenient, less

burdensome, or less expensive,” Fed. R. Civ. P. 26(b)(2)(C)(i).

                               BASIS FOR EMERGENCY RELIEF

       19.     Pursuant to Bankruptcy Local Rule 9013-1(i), the Senior Creditors respectfully

request emergency consideration of the motion. Specifically, the Senior Creditors request that


                                            -9-
      Case 18-03052 Document 115 Filed in TXSB on 05/14/18 Page 11 of 13



hearing on the instant motion take place at the already scheduled May 30, 2018 hearing in the

adversary case. Consideration of the motion on that date would only shorten the ordinary notice

period by five days. In addition, consideration at the May 30 hearing would be more convenient

for the Court and all parties, and provides ample time for a response from WSFS (and

consideration by the Court) on this relatively discrete issue. Further the Deposition Notice seeks

to depose the Senior Creditors on June 13, 2018 and emergency consideration would potentially

allow for a resolution of this dispute in advance of that date.

                                  *                  *            *

       For all of these reasons, the Senior Creditors request that the Court enter an order,

substantially in the form attached hereto as Exhibit 2, quashing WSFS’s Notice of Deposition

and preventing the noticed depositions from going forward.

 Dated: May 14, 2018                     Respectfully submitted,

                                         /s/ Thomas A. Howley
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                                                 - and -

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                                            - 10 -
Case 18-03052 Document 115 Filed in TXSB on 05/14/18 Page 12 of 13




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                         ATTORNEYS FOR THE SENIOR CREDITORS




                           - 11 -
      Case 18-03052 Document 115 Filed in TXSB on 05/14/18 Page 13 of 13



                                CERTIFICATE OF SERVICE

       I certify that on May 14, 2018, I caused a copy of the foregoing document to be served by

the Electronic Case Filing System for the United States Bankruptcy Court for the Southern

District of Texas.


                                            /s/ Thomas A. Howley
                                            Thomas A. Howley




                                         - 12 -
